 Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 1 of 31




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA
                        NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                          MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                 SECTION "N-4"
                                             JUDGE ENGELHARDT
                                             MAG: JUDGE ROBY




         DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
     IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
    CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                          U.S. EXHIBIT NO. IO-D
  Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 2 of 31
                                            FEMA10-000280



                   FEMA Model Travel Trailer Procurement Specifications
                                   Dated: July 14, 2005




Travel trailers being procured under this contract are for the purpose of providing temporary housing.
The units are subjected to continuous road travel, multiple installations and deactivations, and various
weather conditions. The standards shall not be considered restrictive in that the supplier may provide
"equal or better" units considering that the competitive price and delivery requirements can be met.

The construction and out~tting standards identify minimum square footage of living space, floor plan
configuration, finishes, furnishing and environmental living conditions necessary to provide emergency
housing for disaster relief operations. All exterior openings such as windows, doors, drain pipes; etc...
will be caulked with a clear, non-hardening weatherproof sealant to prevent air and moisture penetration.

The units shall meet industrY standards except where identified. These units will not include awnings,
stereos, holding tanks, and/or any optional accessories.

The delivery locations are subject to change due to disaster circumstances or situatio’ns associated with
disaster and recovery efforts. The primary delivery locations will be in Atlanta, GA; Selma, AL;
Cumberland, MD, and/or Ft. Worth, TX. Note: As a reminder the disaster location are subject to
change and the contractor must be prepared to ship the units to the affected disaster area location
identified by FEMA. The contractor must have a rep and/or technician there when the units arrive. The
first order of units will be needed as soon as possible preferably within 14 days of the contract award.




Travel trailer Specs (2).doe

                                             Page 1 of 8
   Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 3 of 31
                                             FEMA10-000281


                   FEMA Model Travel Trailer Procurement Specifications
                                  Dated: July 14, 2005




Thespecifications establish the minimum standards for travel trailer construction and out-fitting to meet
FEMA contract requirements. This specification does not constitute any expressed or implied deviation
or waiver of any requirement of the U.S. regulatory requirements from the governing agency. All units
to include furnishings and appliances must be new. The manufacturer shall design and construct all
units under this contract within a superior grade quality of workmanship.

Note: The direction descriptions for lef~ or right side of the unit means left or right side when facing the
unit from the screwjack.



Type                     Model: FEMA Disaster Housing Travel Trailer
                         Or 50 Amp All Electric FEMA Disaster Housing Travel Trailer
Exterior LenNh           35 ft (Includes..3’ 6" hitch-approximate)
Exterior Width           8 ft (Not to exceed) (No Slide-out units)
Screwjack                Non-detachable    (No fifth wheel units)
Electrical System - AMPS ~0 Amp    power  cord (50 ft long) with 30 Amp Adapter
                         Or 30 Amp                          ..
Furnishing               Fully
Bedrooms                 Sleep 6.. There must be two bedrooms of which one must contain a
                         double bunk. -
Bathroom                 1 (residential commode and no holding tan.k)
Refrigerator             Yes   - (Residential) 14 of. Frost-free electrid refrigerator with freezer
Range and Oven...        Yes   - The each unit must have electric cook top and oven.
Washer Capacity          No
Dryer Capacity           No
Air Conditioner          Yes (Rooftop)
Furnace                  Yes
Microwave                Yes
Water Heater             Yes, 20 Gal
Exterior Covering
Smoke Detector           Yes, in kitchen area, and each bedrooiri/sleeping area,." ’.. " : .
Carbon Monoxide Detector Yes                    ¯-           ’"""’                 ’:
Fire Extinguisher        Yes .......                                    : " " "’~ ....




Travel trailer Specs (2).doe

                                              Page 2 of 8
  Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 4 of 31
                                                       FEMA10-000282


                   FEMA Model Travel Trailer Procurement Specifications
                                   Dated: July 14, 2005



                               .




Interior Receptacles Electrical receptacles will be installed at convenient locations throughout the
                     unit. Receptacles located near or in wet areas must be protected with ground fault
                     interrupter protection.
Exterior Receptacles Each home will be provided with a heat tape receptacle located near the water
                     inlet. Exterior receptacles must be protected with ground fault interrupter
                     protection.
Phone and Cable . Televisiori Jack: Each unit shall have a t~ievision jack and a telephone jack ......
                     installed in the living room and master bedroom area.
Exterior Lighting              Each unit will have an exterior light near each entrance. The light switch will be
                               located appropriately inside the unit.
Power Cord                     50 Amp. Electrical Service with Detachable Power Cord, with a 50 AMP Female
                               to 30 AMP Male to modify the 50 AMP plug to a 30 AMP plug.

                               Or 30 Amp


Plumbing System                Industry standard plumbing system will be installed. The holding tank will not
                               be installed. Each unit must have a water pressure regulator.

Winterization                  All drain lines shall have antifreeze poured into all traps, including washer drain,
                               after the flood test.
Faucet Assemblie~              All faucet assemblies in the hom~" shall be of the dual shutoffvalve type.
Bathroom                       The bathroom shall also have the manufacturer’s standard vanity with lavatory,
                               medicine cabinet with mirror and accessories (paper holder, towel bars/hooks).
                               All interior plumbing must be assembled. All bathroom fixtures shall be of the
                               same color.
Commode                        The unit will have a residential commode. The water storage tank, seat and cover
                               shall be the same color as the commode bowl. Any loose objects must be
                               properly secured. This includes tank lid.
Sewer Line                     The sewer line will exit the home approximately two feet (2’) and not more than
                               three feet (3’) behind the rear axle. The exit pipe shall protrude approximately six
                               inches (6"), but not more than eight inches (8"), from the underlying, shall have a
                               threaded end, and be capped with a removable plastic cap and chain.

Appliances, .. ......-...
Water Heater                   A 20-gallon electric water heater.
Range                          A electric c~oldng range with two burners (Note: four burners are prefen-ed),
                               thermostatically controlled oven, and a lighted, power-vented range hood. Any
                               loose objects must be properly secured.                                       ...


Travel trailer Specs (2).doc

                                                        Page 3 of 8
  Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 5 of 31
                                                       FEMA10-000283


                   FEMA Model Travel Trailer Procurement Specifications
                                   Dated: July 14, 2005



Refrigerator                    Residential 14 c. f. frost-free electric refrigerator with freezer. Any loose objects
                                must be pmper!y secured.
Microwave Oven                 Each unit will have a minimum 1.2 cu. ft microwave. Any loose objects must be
                                properly secured.                                ..


                               Furnishings shall be the standard functional quality (provides usability, comfort
                               and minimum maintenance). All furniture shall be assembled with all packing
                               material removed. All furniture shall be appropriately secured to prevent damage
                               during transport.
Bedrooms.                      One bedroom shall have a full-size bed. The other bedroom shall have a double
                               bunk w/storage.
Living Room                    Each living room area wil! be furnished with sleeper sofa, capable of sleeping
                               adults.
Dining Room                    The dining room area will be furnished with dinette table and seating.


Heating and Cooling System (NOTE: F~fn~de ar~d:A/C shNl gS~tl{6:s"ame tli~fifli3§fat).~:"i !51% :."...
Furnace              The unit will be equipped with a electric furnace capable of maintaining an
                     average of 75 degrees Fahrenheit temperature. The unit must have in,Floor
                     ducted heat with a wired thermostat.

Air Conditioner                15,000 BTU Ducted RoofA/C wired and connected with the furnace. Window
(A/C)                          units are not acceptable.. Note: The furnace and A/C must be wired to the same
                               thermostat completely connected and installed.


Smoke Detectors                 Each unit will include three battery-operated smoke detector (battery included).
                                Smoke detectors shall be equipped with push-button testing devices and are hard-
                                wired into the unit.

Fire ExtinguisheL . Ead~ home
                            will be equipped with a five-pound A-B-C type fire extinguisher and
                  a mounting bracket
Steps                           Triple entry steps-welded to frame
Jacks                           Six stabilizer jacks with pads. Jacks will be needed for each corner and middle
                                of the unit


Exterior Door                  Each exterior door is to be a 36" wide insulated steel door. The door shall be pre-
                               hung, and is fully insulated with no voids and includes safety chain, weather
                               stripping, and a built in, non-operable window completely caulked with a non-
                               hardening sealant. The doors shall be mounted in such a manner that the hinged
                               side is toward the front of the unit and when fully opened the door shall not come
                               in contact with any window. All locks shall be master keyed.

Travel trailer Specs (2),doe

                                                        Page4 of 8
  Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 6 of 31
                                                      FEMA10-000284


                   FEMA Model Travel Trailer Procurement Specifications
                                                 Dated: July I4, 2005




Siding               Industry standard with an entry assist handles at entrance/exit each door.
Roof                 Industry standard covering. Rain gutter w/corner downspout along the roofline.’ ........
Exterior Door Lock " Flush mounted combo entry dead-bolt lock.



Floor Covering                 All flooring shall be covered with continuous roll non-foam resilient linoleum.
                               (No carpet allowed) Duct openings shall be covered with a 4" x 10" metal,
                               adjustable kmvered covering (register).

W indow Covering               Mini Blinds for all windows except bedrooms with bunks, whida shall be
                               covered with flame retardant curtains.



Readiness                      The manufacturer and/or supplier of the unit shall ready the units for transport to
                               the designated area and/or installation site.
Road Ready                     The units must be in transportable and road ready condition when received at
Condition                      staging. Units that are not in a transportable and road ready condition (such as
                               flat tires, damaged axles, ete) will not be considered acceptable.




Travel trailer Specs (2).doe

                                                       Page 5 of 8
   Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 7 of 31
                                                       FEMA10-000285


                   FEMA Model Travel Trailer Procurement Specifications
                                   Dated: July 14, 2005



FEMA Acceptance                The contractor (vendor and/or manufacturer) not FEMA is responsible for
                               providing a unit that complies with the appropriate requirements and this
                               specification.

                               When the units are delivered the units must be in the FEMA acceptable condition
                               or the vendor must make the unit FEMA acceptable within 24 hours or must
                               remove the unit from the FEMA delivery location at no expense to FEMA or the
                               government.

                               When FEMA receives the units at the FEMA delivery 16cation this does not
                               constitute as accepted. FEMA accepts simply means the unit does not obvious
                               have visible damage. FEMA is also not responsible for units received but not
                               accepted. Units will not be accepted as FEMA property until an appropriate
                               FEMA Rep and company representative or techfiician inspects the unit damage.

                               The company must provide FEMA a copy of all shipping documents and the
                               shipping documents must include the vendor/company name (NOTE: This refers
                               to vendor/manufactureffcompany the procurement contract was awarded).

                               FEMA reserves the right to reject any unit due to damages, non- road ready
                               and/or non-transportable unit, and/or non-specifications compliance. The unit
                               must be made transportable, road ready, and specification compliant prior to
                               acceptance_,


Miscellaneous                                             ,,     . :.". ....       " " : ....." :: ¯ " ¯
Master Keys                    The unit manufacturer or supplier shall furnish 3 sets of keys for homes procured.
                               Master keys shall be provided and packaged separately. The master keys must be
                               received with or prior to delivering the first unit,

Warranty                       The vendor supolvin_g the unit must.identi _fy a POC for handling warran ,ty items
                               and the vendor needs to provide FEMA the procedure for reporting wan-an _ty
                               items to the vendor. The manufacturer shall also provide a supplier list, including
                               company name, address and phone number &the suppliers of the various
                               components of the home.

                               The vendor (awarded the contract) will be notified of any unit accepted, but later
                               identified as non-compliant. The vendor must repair or replace these items at no
                               additional cost to the government within 48 hours. This includes items missing
                               that were not shipped.
Certificates of                The certificate of origin must be provided at the time of billing.
Origin                         The certificate of origin must accompany the invoice.

Unit Floor Plan                The manufacturer shall provide a complete set of plans per model of the home to
                               include floor plan and electrical and plumbing diagrams. Note: The bathroom
                               shall be located in the back of the unit and all plumbing must be on the same side.


Travel trailer Specs (2).doe

                                                        Page 6 of 8
  Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 8 of 31
                                                      FEMA10-000286



                  FEMA Model Travel Trailer Procurement Specifications
                                 Dated: July 14, 2005




Testing                        The following tests are required prior to delivery and may be witnessed at the
Requirements                   discretion of the Government in accordance with the Standard.
                               Water piping will be tested with air only with the water heater disconnected
                               The drainage and vent system and the plumbing fixtures
                               The electrical system.



Delivery Schedule              The vendor must provide a realistic delivery schedule for the units withtheir
                               bids.           ..

                                       This schedule must include the number of units that would be at the
                                       FEMA designated delivery location by the dates (not the ship date).

                                       This schedule wilt also identify the projected completion date and the
                                       time it would take to provide the units from the date the order(s) are
                                       placed.

                               The final schedule must be provided within 24 hours of contract award and the
                               schedule must be consistent to the schedule provided under the bid process.
                               The contractor (vendor awarded the contract) must at a minimum meet their
                               projected delivery schedule according to the contract award or FEMA mac
                               exercise the right to purchase additional units from other sources and may
                               subtract the remaining portion of the order above the,guaranteed ,minimum,

Company                        The company FEMA has the contract with must demonstrate the capacity to
Commitment                     support this mission and delivery schedules. If the company is supporting other
                               FEMA disasters the company must also demonstrate continued support for those
                               disasters as well, to include meeting those delivery schedules.

                               Also, the vendor must have a representative and technicians at the delivery
                               locations to prepare the units for acceptance. FEMA is not obligated to provide
                               an area or space .for this purpose.




Travel trailer Specs (2).doe

                                                       Page 7 of 8
  Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 9 of 31
                                                     FEMA10-000287


                   FEMA Model Travel Trailer Procurement Specifications
                                   Dated: July 14, 2005



Unit designated                All units must have a unit designation number. The "designated number" is:
number
                                  Approximately 3 to 4 inches high black colored numbers and should be
                                  visible from the street.

                                   Located on the left front corner of the un it when facing the unit.

                               ~ Approximately three feet high from the bottom of the unit.

                                  Consists of the contract number and the sequence number of the unit on the
                                  specific contract. Example 3025-0015 which indicates the contractor
                                  number 3025 has delivered the 15"~ unit on this contract and has been
                                  shipped into inventory. (Note: Confirm the contract number with FEMA
                                  prior to using).

Unit Barcode                   All units must have a UPC bar code on the front left side of the unit and inside
                               the unit within the main bedroom’s left side cabinet.




Travel trailer Specs (2).doe

                                                      Page 8 of 8
                     Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 10 of 31
                                                                                             FEMA10-000288
        4*:

                                                                                                                                                                                           PAGE 1 OF   19

              SOLICITATION/CONTRACTIORDER FOR COMMERCIAL ITEMS                                                                      i, REOUISR’ION NO,                       BPA NO.
                OFFEROR TO COMPLETE BLOCKS 12, 17, 23, 24, & 30
                                                                                ORDER .NO.
                                                                                                                                  IN    NOO366Y20OST

                                                                                                              MODIFICATION NO, ~, S OLICITATION NO.


¯ FOR SOLICITATION
                                                                                                                                  I
                                                                                                                                  ~ b. TELEPHONE NO, (No C~IIo~C~llo)
                                                 Mike ~errel I                                                                     (321) 508-1712                               TIME ASAP
  INFORMATION CALL:                       J
 ISSUED BY                                                              CODE                             THIS ACQUISITION IS
  Oepartm~n~ o~ Homeland Secur~y/F~                                                                  ]     UNRESTRICTED OR                ] SET,ASIDE:      =/,=FOR:
  Federal Emergency Management Agency                                                                                                         [~] SMALL BUSINESS             J--7 EMERGING SMALL BUSIN£[
  Fin~cial & Ac~isition Managemen~                                                                                                                                                BUSINESS
  500 C Street, SW, Room 350                                                                                                                 r-] HUBZONE SMALL
                                                                                                                                                   BUSINESS
  Washinston DC ~0472                                                                                    SIZE STANDARD:
                                                                                                                                                   OWNED BUS,NESS
I. DELIVERY FOR FOB DESTINA-                                                                                                                          13b. RAYING



                                                                                                                                                   J
                                              12, DISCOUNT TERk’~
 TION UNLESS SLOCK LS                            N/A                                             ]           t3~. THISCONTRAGTISA                            N/A
 MARKED                                                                                                           RATED ORDER UNDER
                                                                                                                  DPAS (15 CFR 700)                   14. METHOD OF SOL, CITATION
  ] SEE SCHEDULE
                                                                                                                                                      [~] RFQ []IF8 ~-"] RFP
 DELIVER TO                                                             CODE [                   lB. ADMINfSTRERE{3 BY                                                              CODE

                                                                                                             Department of Homeland 8ecurity/FEMA
  TBD                                                                                                        Federal Emergency Management Agency
                                                                                                             Financial & .Acquisition Mangement
                                                                                                             500 C Street,SW, Room 350
                                                                                                             Washington DC 20472
’a. CONTRAGTOPJOFFEROR CODE I                                   FACILtTY’CODE l                  IBa. PAYMENT W,~LL BE MADE BY                                                      CODE
                                                       I

  NORTH AMERICAJq CATASTROPHE SERVICES INC                                                                   Departmenu of Homeland Security/FEMA
                                                                                                             Disaster Finance Center
                                                                                                             Attn: Vendor Payments
  864 WASHBURN R!9 B                                                                                         P.O. Box BO0
                                                                                                             Ber~ille VA 22611
  MELBOURNE FL 329347330
£LEPHONENO,
                                                                                                 18b. SUBMIT INVOICES TO ADDRESS SHOWN IN BLOCK 18.3 UNLESS BLOCK BELOW IS CHEC~’ED
   17b. CHECK IF REMITTANCE IS DIFFERENT AND PUT SUCH ADDRES~ IN OFFER                                                                 ~SEE ADD~NDUM

                                                               20.       See CONTINUATION Page                                   21.                                23.                      24,
  ~EM NO,                             SCHEDULE OF SUPPLIES/SERVICES                                                            QUANTITY        UNIT             UNIT PRIC~                 AMOUNT

  0001          Travel Trailers                                                                                                5,000’                               10,2B0.00        $51,400,000,00
  0002          Delivery Cos~ Not To Exceed                                                                                    1,764           Each                  5,000.00          $8,820,000.00
                 ($~.~7 mile X 1,200 miles X 5000 units)



                The contractor sha!l provide a bill of lading for each
                individual unit ordered here~der, The bi!! of lading
                shall include, but not be limited ~o, the following:
                Contract Number, Contractor Name, Make/Model, and Unit VINe.

                These units should be titled to
                PLEASE FOLLOW INSTRUCTIONS 7N PART C,5 REGARDZNG SUBMZSSION
                OF INVOICES.
                THE INVOICE WILL NOT BE PAID WITHOUT RECEIPT OF THE
                ORIGINAL CERTIFICATE OF ORIGIN/T~TLEo

                CONFIRMING ORDER DO NOT DUPLICATE



                    {Use Ravorse andlor Attach Addillona| Sh~ets aS N~cossnW}
.ACCOUNTINGANOAPPROPRtATIONDATA                  See CONTINUATION Page                                                                                         TOTAL AWARD AMOUNT (For GovL Usa Only)
                                                                                                                                                                NTE             $60,220. 000, O0
~ 27ao SOLICITATION INCORPORATES BY REFERENC~ FAR 5Z.212-1, 52.212-.4. FAR 52.212~3 AND 52.212-5 ARE ATTACHED. ADDENDA                      ’--]ARE C ARE NOTATTACHED.
] 27b. CONTRACTIPURCHASE ORDER INCORPORATES BY REFERENCE FA,R 52,21Z,,-4, FAR 52,212-5 IS ATTACHED. ADDENDA                                                 ARE NOTATTAO.
 . CONTRACTOR IS REQUIRED TO SIGN THIS DOCUMENT AND RETURN                   COPIES                     2~. AWARD OF CONTRACT: REFEP-~NCE                                         OFFER
    TO ISSUING OFFICE. CONTRACTOR AGREES TO FURNISH AND Dlzq.|VER ALL ITEMS SET                        F-’] DATED ~                 . YOUR OFFER ON SOLICITATION (BLOCK
    FORTH OR OTHERWISE IDENTIFIED ABOVE AND ON ANY ADDITIONAL $HSKTS SUBJECT TO                        L.J 5), INCLUDING ANY ADDITIONS OR CHANGES WHICH AR E S~S~S~S~.~-:2, FORTH
    THE TERMS AND CONDITIONS SPECIFIED HEREIN                                                              HEREIN IS ACCEPTED AS T...~LTEMS:

a. SIGNATURE OF OFFEROR/CONTRACTOR                                                                        uNiTeD s~’~E~/~ ~N~ (~FFICER,        "


b. NAME AND TITLE OF SIGNER (TYPE OR PRINT)
                                                                    j30c. DATE SIGNED                     NAME OF COrreCTING OF~CER ~R P~
                                                                                                            Contracting Officer                                               I /// //~’J
 ITHORIZED FOR LOCAL REPRODUCTION                                                                                                                  ST~DARD FORM I~9 (R~. ~005)
|EVIOUS EDI1]ON IS NOT USABLE                                                                                                                      Pt~ ~ GSA - FAR (48 CFR) 53.212
           Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 11 of 31
                                                                              FEMA10-000289




                                                                Table of Contents
SECTION B - CONTINUATION BLOCK ....................................................................................................                         B-1
              PRICE/COST SCHEDULE ................................................................................................................          B- 1
               CONSIDEP~TION -- F!XED-PRICE ..............................................................................................                  B-I
SECTION C - CONTRACT CLAUSES ........................................................................................................                       C-I
        C.1 52.252-2 CLAUSES INCORPORATED BY REFERENCE (FEB 1998) ......................................                                                       C-I
        C.2 52.21I-11 LIQUIDATED DAMAGES - SUPPLIES, SERVICES, OR
              RESEARCH AND DEVELOPMENT (SEPT 2000) .....................................................................                                       C-I
        c.3 52.212-5 CONTRACT TERMS AND CONDITIONS REQUIRED TO
              IMPLEMENT STATUTES OR EXECUTIVE ORDERS--COMMERCIAL
              ITEMS (JUL 2005) ..........................................................................................................................      C-1
        C.4 52.232-25 PROMPT PAYMENT (OCT 2003) ...............................................................................                                C-6
        C.5 INVOICES .......................................................................................................................................  C-11
        C.6 52.249-8 DEFAULT (EIXED-P. RICE SUPPLY AND SE1ZV.ICE)
              (AeR 1984) .................................................................................................................................... C-!4
        C.7 HSAR 3052.209-70 eROI~mrrlON ON CONTI~CrS WITH COI~Or~TE EXPATRIATES
             09EC 2003) ....................................................................................................................................C-I 5
        C.8 COMMERCIAL WAILRANTY ......................................................................................................                   C-17
SECTION D - CONTRACT DOCUMENTS, EXHIBITS, OR ATTACHMENTS ...................................                                                                D-1
         Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 12 of 31
                                                     FEMA10-000290



                                           £ISFEHQ-05-C-4040                                SECTION B

        SECTION B - CONTINUATION BLOCK



B.1 PRICE/COST SCHEDULE


 ITEM          DESCRIPTION OF                  QTY      UNIT                   UNIT                AMOUNT
               SUPPLIES/SERVICES                                               PRICE

 O001                                   5,000.00        Each                $10,280.00     $51,400,000.00
               Travel Trailers
               FUNDING/REQ NO:            3:$51,400,000.00           NN00366Y2005T

 0002                                 1.00 Lot                           $8,820,00~0.00     $8,820,000.00
               Delivery $1.47 per mile X 1200 miles                  X
               5000 units = $8,820,000.00
               Not To Exceed Amount
               FUNDING/REQ NO:     i: $6,230,162.00                  NN00288Y2005T
               FUNDING/REQ NO:     3:$2,589,838.00                   NN00366Y2005T


                                                        GRAND TOTAL ---                    $60,220,0"00.00


 ACCOUNTING AND APPROPRIATION DATA:

 ACRN APPROPRIATION                                          REQUISITION NIIMBER                   AMOUNT

     1 2005-06-1603DR-9064-                  -3199-D         NN00288Y2005T             P    $6,230,162.00
     2 2005-06-1604DR-9044-                  -3190-D         NN00292Y2005T             F            $0~00
     3 2005-06-1605DR-9044-                  -3199-D         ~00366Y2005T              F   $53,989,838.00

 B.2 CONSIDERATION-- FIXED-PRICE

 The total NTE anaount of this contract is $60,220,000.00.

 (a) Total payment(s) shall be made upon the satisfactory completion and Government acceptance of all requirements
under the contract.

 (b) The following represents the delivery schedule of the units:



 DaLe       Units
 9/14        30
 9/15        30
 9/16        72
 9/17        76
 9/18        76
 9/2!        79
 9/22        109

                                                                                                   B-1
Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 13 of 31
                              FEMA10-000291



                       HSFEHQ-05-C-4040                     SECTION B
   135
   135
   137
   102
   119
   119
   119
   119
   119
   104
   119
   119
   141
   141
   141
   126
   126
   126
   126
   124
   i01
   106
   106
   82
   78
   108
   108
   130
   130
   130
   131
   125
   117
   107
   85
   60
   47
   41
   3O
   30
   25
   0
   22
   22
   22
   22
   22
   22
   22
   0




                                                                   B-2
       Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 14 of 31
                                                 FEMA10-000292



   I:[SFEI][Q-05-C-4040                    SECTION C

     SEC~ON C - CONTRACT CLAUSES


C.1 52.252-2 CLAUSES INCORPORATED BY REFERENCE (FEB 1998)

  This contract incorporates one or more clauses by reference,
with the same force and effect as if they were given in full text. Upon
request, the Contracting Officer wil! make their full text available.
Also, the full text of a clause may be accessed electronically at
this/these address(es):
http ://www. arnet, gov/far

   52.233-4               Applicable Law for Breaoh of Contract   OCT 2004
                          Claim

C.2 52.211-11 LIQUIDATED DAMAGES - SUPPLIES, SERVICES, OR
     RESEARCH AND DEVELOPMENT (SEPT 2000)

  (a) If the Contractor fails to deliver the supplies or perform the
services Within the time specified in this contract, the Contractor
shall, in place of actual damages, pay to the Government liqnidated
damages of $60.00 per unit per calendar day of delay.

   (b) If the Government terminates this contract in whole or in part
under the Default--Fixed-Price Supply and Service clause, the
Contractor is liable for liquidated damages accruing until the
Government reasonably obtains delivery or performance of similar
supplies or services. These liquidated damages are in addition to
excess costs of repurchase under the Termination clause.
   (c) The Contractor will not be charged with liquidated damages when
the delay in delivery or performance is beyond the control and without
the fault or negligence of the Contractor as defined in the
Default--Fixed-Price Supply and Service clause in this contract.
C.3 52.212-5 CONTRACT TERMS AND CONDITIONS REQUIRED TO
     IMPLEMENT STATUTES OR EXECUTIVE ORDERS--COMMERCIAL
     ITEMS ~UL 2005)
   (a) The Contractor shall comply with the following Federal
Acquisition Regulation (FAR) clauses, which are incorporated in this
contract by reference, to implement provisions of law or Executive
o~ders applicable to acquisitions of eommercia! items:

     (1)52.233-3, Protest after Award (AUG 1996) (31 U.S.C. 3553).

    (2)52.233-4, Applicable Law for Breach of Contract Claim (OCT 2004)
(Pub. L. 108-77, 108-78)

  (b) The Contractor shall comply with the FAR clauses in this
paragraph (b) that the Contracting Officer has indicated as being
incorporated in this contract by reference to implement provisions
of law or Executive orders applicable to acquisitions of commercial
                                                                             C-1
         Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 15 of 31
                                        FEMA10-000293



   ~SFEHQ-05-C-4040              SECTION C
items: [Contracting Officer check as appropriate.]

     [X] (i) 52.203-6, Restrictions on Subcontractor Sales to
the Government (JUL 1995), with Alternate I (OCT 1995)(41 U.S.C~ 253g and
I0 U.S.~. 2402).

    [] (2) 52.219-3, Notice of Tota! HUBZone Set-Aside (JAN
1999) (15 U.S.C. 657a).

     [] (3) 52.219-4, Notice of Price Evaluation Preference
for HUBZone Small Business Concerns (JUL 2005) (if the offeror elects
to waive the preference, it Shal! so indicate in its offer) (15 U.S.C.
657a).

     [] (4) (i) 52.219-5, Very Small Business Set-Aside
(07JNE 2003) (Pub. L. 103-403, section 304, Small Business
Reauthorization and Amendments Act of 1994).

    []    (ii) Alternate I (MAR 1999) of 52.219-5.

    [] (iii) Alternate II (JUNE 2003) of 52.219-5.

     [] (5) (i) 52.219-6, NOtice of Total Small Business
Set-Aside (JUNE 2003) (15 U.S.C. 644).

    []   (ii) Alternate I (OCT 1995) of 52.219-6.

    []   (iii) Alternate II (MAR 2004) of 52.219-6.

     [] (6) (i) 52.219-7, Notice of Partial Small Business
Set-Aside (JUNE 2003) (15 U.S.C. 644).

    []    (ii) Alternate I (OCT 1995) of 52.219-7.

    []    (iii) Alternate II (MAR 2004) of 52.219-7.

    [X] (7) 52.219-8, Utilization of Small Business Concerns
(MAY 2004) (15 U.S.C. 637 (d) (2) and (3)).

    [] (8) (i) 52.219-9, Small Business Subcontracting Plan
(JAN 2002) (15 U.S.C. 637(d) (4)) .

    []    (ii) Al~ernate I (OCT 2001) of 52.219-9.

    []    (iii) Alternate II (OCT 2001) of 52.219-9.

    [] (9) 52,219-14, Limitations on Subcontracting (DEC 1996)
(15 U.S.C. 637(a) (14)).

     [] (I0) (i) 52.219-23, Notice of Price Evaluation
Adjustment for Small Disadvantased Business Concerns (JUL 2005) (Pub.
L. 103-355, section 7102, and i0 U.S.C. 2323) (if the offeror elects
to waive the adjustment, it shall so indicate in its offer).
         Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 16 of 31
                                         FEMA10-000294



   ~SFEI-IQ-05-C-4040            SECTION C
    [] (ii) Alternate I (JUNE 2003) of 52.219-23.

    []     (iii) Alternate IZ (OCT 1998) of 52.219-23.

     [] (ii) 52.219-25, .Small Disadvantaged Business
Participation Program--Disadvantaged Status and Reporting (OCT 1999)
(Pub. L. 103-355, section 7102, and I0 U.S.C. 2323).

    []. (12) 52.219-26, Small Disadvantaged Business
Participation Program--Incentive Subcontracting (OCT 2000) (Pub. L.
103-355, section 7102, and I0 U.S.C. 2323).

     [] (13) 52.219-27, Notice of Total Service-Disabled Veteran-Owned
Small Business Set-Aside (May 200&)

    [] (14) 52.222-3, Convict Labor (JUNE 2003) (E.O.
11755).
     [X] (15) 52.222-1.9, Child Labor--Cooperation with
Authorities and Remedies (JUN 2004) (E.O. 13126).

     [X] (16) 52.222-21, Prohibition. of Segregated Facilities
(FEB 1999) .

    [X] (17) 52.222-26, Equal Opportunity (APR 2002) (E.O. 11246).

     []   (18) 52.222-35, Equal Opportunity for Specia! Disabled
Veterans, Veterans of the Vietnam Era, and Other Eligible Veterans
(DEC 2001) (38 U.S.Co ~212).

     [] (19) 52.222-36, Affirmative Action for Workers with
Disabilities (JUN 1998) (29 U.S.C. 793).

     [] (20} 52.222-37, Employment Reports on Special .................................
Disabled Veterans, Veterans of the Vietnam Era, and Other Eligible
Veterans (DEC 2001) (38 U.S.C. 4212).

     [] (21)52.222-39, Notification of Employee Rights
Concerning Payment of Union Dues or Fees (DEC 2004) (E.O. 13201).

      [] (22) (i) 52.223-9, Estimate of Percentage of Recovered
Material Content for EPA-Designated Products (AUG 2000) (42 U.S.C.
6962 (c) (3) (A) (ii)) .

      [] (ii) Alternate I (AUG 2000) of 52.223-9 (42 U.S.C.
6962(i) (2) (C)) .

     [] (23) 52.225-1, Buy American Act--Supplies (JUNE 2003)
(41 U.S.C. 10a-10d) .

     [] (24) (i) 52.225-3, Buy American Act--Free Trade Agreements--
Israeli Trade Act (JAN 2005) (41 U.S.C. 10a-10d, 19 U.S.C. 3301 note,
19 U.S.C. 2112 note, Pub. L. 108-77, 108-78, 108-286).


                                                                           C-3
         Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 17 of 31
                                        FEMA10-000295



  I~SFEI:IQ-05-C-4040              SECTION C
    []     (ii) Alternate I (JAN 2004) of 52.225-3.

    []     (iii) Alternate IZ (JAN 2004) of 52.225-3.

    []   (25) 52.225-5, Trade Agreements (JAN 2005) (19
U.S.C. 2501, et seq., 19 U.S.C. 3301 note).

     IX] (26) 52.225-13, Restrictions on Certain Foreign
Purchases (MAR 2005) (E.O.s, proclamations, and statutes administered
by the Office of Foreign Assets Control of the Department of the
Treasury).

     [] (27) 52.225-15, Sanctioned European Union Country End
Products (FEB 2000) (E.O. 12849).

     [] (28) 52.225-16, Sanctioned European Union Country
Services (FEB 2000) (E.O. 12849).

     []   (29) 52.232-29, Terms for Financing of Purchases
of Commercial Items (FEB 2002) (41 U.S.C. 255(f), I0 U.S.C. 2307(f)).

    [] (30) 52.232-30, Installment Payments for Commercial
Items (OCT 1995) (41 U.S.C. 255(f), 10 U.S.C. 2307(f)).

     IX] (31) 52.232-33, Payment by Electronic Funds
Transfer--Central Contractor Registration (OCT 2003) (31 U~S.C. 3332).

     [] (32) 52.232-34, Payment by Electronic Funds
Transfer--Other than Central Contractor Registration (MAY 1999) (31
U.S.C. 3332).

    [] (33) 52.232-36, Payment by Third Party (MAY 1999)
(31 U.S.C. 3332).

     []   (34) 52.239-1, Privacy or Security Safeguards (AUG
1996) (5 U.S.C. 552a).

     [] (35) (i) 52.247-64, Preference for Privately Owned
U.S.-Flag Commercial Vessels (APR 2003) (46 U.S.C. Appx 1241 and I0
U.S.C. 2631).

    [] (ii) Alternate I (APR 2003) of 52.247-64.

  (c) The Contractor shall comply with the FAR clauses in this
paragraph (c), applicable to commercial services, that the
Contracting Officer has indicated as being incorporated in this
contract by reference to implement provisions of law or Executive
orders applicable to acquisitions of commercial items: [Contracting
Officer check as appropriate.]

     [] (i) 52.222-41, Service Contract Act of 1965, as
Amended (JUL 2005) (41 U.S.C. 351, et seq.).

    [] (2) 52.222-42, Statement of Equivalent Rates for

                                                                            C-4
      Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 18 of 31
                                       FEMA10-000296



   HSFEHQ-05-C-4040              SECTION C
Federal Hires (MAY 1989) (29 U.S.C. 206 and 41 U.S,C. 351, et seq.).

     []   (3) 52.222-43, Fair Labor Standards Act and Service
Contract Act--Price Adjustment (Multiple Year and Option Contracts)
(MAY 1989) (29 U.So~..206 and 41 U.S.C. 351, et seq.).

     []   (4) 52.222-44, Fair Labor Standards Act and Service
Contract Act--Price Adjustment (February 2002) (29 U.S.C. 206 and 41
U.S.C. 351, et seq.).

     []   (5) 52.222-47, SCA Minimum Wages and Fringe Benefits
Applicable to Successor Contract Pursuant to Predecessor Contractor
Collective Barga±ning Agreements (CBA) (May 1989) (41 U.S.C. 351, et seq.).

  (d) Comptroller General Examination of Record. The Contractor
shal! comply with the provisions of this paragraph (d) if this
contract was awarded using other than sealed bid, is in excess of
the simplified acquisition threshold, and does not contain the
clause at 52.215-2, Audit and Records--Negotiation.

     (i) The Comptroller General of the United States, or an
authorized representative of the Comptroller General, shall have
access to and right to examine any of the Contraotor’s directly
pertinent records involving transactions related to this contract.

     (2) The Contractor shall make available at its offices at all
reasonable times the records, materials, and other evidence for
examination, audit, or reproduction, until 3 years after final
payment under this contract or for any shorter period specified in
FAR Subpart 4.7, Contractor Records Retention, of the other clauses
of this contract. If this contract is completely or partially
terminated, the records relating to the work terminated shall be
made available for 3 years after any resulting final termination
settlement. Records relating to appeals under the disputes clause or
to litigation or the settlement of claims arising under or relating
to this contrac~ shall be made available unti! such appeals,
litigation, or claims are finally resolved.

    (3) As used in this clause, records include books, documents,
accounting procedures and practices, and other data, regardless of
type and regardless of form. This does not require the Contractor to
create or maintain any record that the Contractor does not maintain
in the ordinary course of business or pursuant to a provision of law.

   (e) (I) Notwithstanding the requirements of the clauses in
paragraphs (a), (b), (c), and (d) of this clause, the contractor is
not required to f!ow down any FAR clause, other than those in
paragraphs (i) through (vi) of this paragraph in a subcontract for
commercial items. Unless otherwise indicated below, the extent of
the flow down shall be as required by the clause--
       (i) 52".219-8, Utilization of Small Business Concerns (May 2004)
(15 U.S.C. 637(d) (2) and (3)), in all subcontracts that offer
further subcontracting opportunities, If the subcontract (except

                                                                              C-5
      Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 19 of 31
                                       FEMA10-000297



   ~SF~Q-05-C-4040                SECTION C
subcontracts to small business concerns) exceeds $500,000
($1,000,000 for construction of any public facility), the
subcontractor must include 52.219-8 in lower tier subcontracts that
offer subcontracting opportunities.
      (ii) 52~222-26, Equa! Opportunity (April 2002) (E.O. 11246).

       (iii) 52.222-35, Equal Opportunity for Special Disabled
Veterans, Veterans of the Vietnam Era, and Other Eligible Veterans
(Decer&ber 2001) (38 U.S.C. 4212).
       (iv) 52.222-36, Affirmative Action for Workers with Disabilities
(June 1998) (29 U.S.C. 793).
       (v) 52.222-39, Notification of Employee Rights Concerning Payment
of Union Dues or Fees (DEC 2004) (E.O. 13201).
       (vi)52.222-41, Service Contract Act of 1965, as Amended (JUL
2005), flow down required for all subcontracts subject to the
Service Contract Act ok 1965 (41 U.S.C. 351, et seq.).
       (Vii) 52.247-64, Preference for Privately Owned U.S.-F!ag
Commercial Vessels (April 2003) (46 U.S.C. Appx 1241 and I0 U.S.C.
2631). Flow down required in accordance with paragraph (d) of FAR
clause 52.247-64.

     (2) While not required, the contractor May include in its
subcontracts for commercial items a minimal number of additional
clauses ne.cess~rl~ to satisfy its. contractual obligations.




C.4 52.232-25 PROMPT PAYMENT (OCT 2003)
  Notwithstanding any other payment clause in this contract, the
Government will make invoice payments under the terms and conditions
specified in this clause. The Sovernment considers payment as being
made on the day a check is dated or the date of an electronic funds
transfer (EFT). Definitions of pertinent terms are set forth in
sections 2.101, 32.001, and 32.902 of the Federal Acquisition
Regulation. All days referred to in this clause are calendar days,
unless otherwise specified. (However, see paragraph (a) (4) of this
clause concerning payments due on Saturdays, Sundays, and legal
holidays.)

   (a) Invoice payments--

     (I) Due date.
       (i) Except as indicated in paragraphs (a) (2) and (c) of this
clause, the due date for making invoice payments by the designated
payment office is the later of the following two events:


                                                                           C-6
      Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 20 of 31
                                       FEMA10-000298



   HSF~I=IQ-05-C-4040             SECT]ION C
         (A) The 30th day after the designated billing office receives a
proper invoice from the Contractor (except as provided in paragraph
(a) (i)(ii) of this clause).

         (B) The 30th day after Government acceptance of supplies
delivered or services performed. For a fina! invoice, when the payment
amount is subject to contract settlement actions, acceptance is deemed
to occur on the effective date of the contract settlement.
       (ii) If the designated billing office fails to annotate the
invoice with the actual date of receipt at the time of receipt, the
invoice payment due date is the 30th day after the date of the
Contractor’s invoice, provided the designated billing office receives
a proper invoice and there is no disagreement over quantity, quality,
or Contractor compliance with contract requirements.

    (2) Certain food products and other payments.
       (i) Due dates on Contractor invoices for meat, meat food products
, or fish; perishable agricultural commodities; and dairy products,
edible fats or oils, and food products prepared from edible fats or
oils are--
         {A) For meat or meat food products, as defined in section
2(a) (3) of the Packers and Stockyard Act of 1921 (7 U.S.C. 182(3)), and
as further defined in Pub. L. 98-181, including any edible fresh or
frozen poultry meat, any perishable poultry meat food product, fresh
eggs, and any perishable egg product, as close as possible to, but not
later than., the 7th day after product delivery.

          (B) For fresh or frozen fish, as defined in section 204(3) of
the Fish and Seafood Promotion Act of 1986 (16 U.S.C. 4003(3)), as
close as possible to, but not later than, the 7th day after product
delivery.

         (C) For perishable agricultural commodities, as defined in
section 1(4) of the Perishable Agricultural Commodities Act of 1930
(7 U.S.C. 499a(4)), as close as possible to, but not later thanj the
10th day after product delivery, unless another date is specified in
the contract.
         (D) For dairy products, as defined in section lll(e) of the
Dairy Production Stabilization Act of 1983 (7 U.S.C. 4502(e)),
edible fats or oils, and food products prepared from edible fats or
oils, as close as possible to, but not later than, the 10th day
after the date on which a proper invoice has been received. Liquid
milk, cheese, certain processed cheese products, butter, yogurt, ice
cream, mayonnaise, salad dressings, and other similar products, fall
within this classification. Nothing in the Act limits this
classification to refrigerated products. When questions arise
regarding the proper classification of a specific product,
prevailing industry practices will be fol’lowed in specifying a
contract payment due date. The burden of proof that a classification
of a specific product is, in fact, prevailing industry practice is

                                                                           C-7
      Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 21 of 31
                                       FEMA10-000299



   ~SFE}{Q-05-C-4040              SECTION C
upon the Contractor making the representation.
       (ii) If the contract does not require submission of an invoice
for payment (e.g., periodic lease payments), the due date wil! be as
specified in the contract.

     (3) C0ntraetor’s invoice. The Contractor shall prepare and
submit invoices to the designated billing office specified in the
contract. A proper invoice must include the items listed in
paragraphs (a) (3) (i) through (a) (3) (x) of this clause. If the
invoice does n~t comply with these requirements, the designated
billing office wil! return it within 7 days after receipt (3 days
for meat, meat food products, or fish; 5 days for perishable
agricultural commodities, dairy products, edible fats or oils, and
food products prepared from edible fats or oils), with the reasons
why it is not a proper invoice. The Government will take into
account untimely notification when computing any interest penalty
owed the Contractor.

      (i) Name and address of the Contractor.

       (ii) Invoice date and invoice number. (The Contractor should
date invoices as close as possible to the date of the mailing or
transmissions)

       (iii) Contract number or other authorization for supplies
delivered or services performed (including order number and contract
line item number).
       (iv) Desoription, quantity, unit of measure, unit price, and
extended price of supplies delivered or services performed.
       (v) Shipping and payment terms (e.g., shipment number and date
of shipment, discount for prompt payment terms). Bill of lading
number and weight of shipment will be shown for shipments on
Government bills of lading.

       (vi) Name and address of Contractor official to whom payment is
to be sent (must be the same as that in the contract or in a proper
notice of assignment).
       (vii) Name (where practicable), title, phone number, and mailing
address of person to notify in the event of a defective invoice.

       (vii£) Taxpayer Identification Number (TIN). The Contractor shall
include its TIN on the invoice only if required elsewhere in this
contract.

      (ix) Electronic funds transfer (EFT) banking information.

         (A) The Contractor shall include EFT banking information on the
invoice only if required elsewhere in this contract.

         (B) If EFT banking information is not required to be on the

                                                                           C-8
       Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 22 of 31
                                        FEMA10-000300




  HSFEHQ-05-C-4040                 SECTION C
invoice, in order for the invoice to be a proper invoice, the
Contractor shall have submitted correct EFT banking information in
accordance with the applicable solicitation provision (e.g., 52.232-
38, Submission of Electronic Eunds Transfer Information with Offer),
contract clause (e.go, 52.232-33, Payment by Electronic Funds
Transfer--Central Contractor Registration, or 52.232-34, Payment by
Electronic Funds Transfer--Other Than Central Contractor
Registration), or applicable agency procedures.
         (C) EFT banking information is not required if the Government
waived the requirement to pay by EFT.
       (x) Any other information or documentation required by the
contract (e.g., evidence of shipment).

     (4) Interest penalty. The designated, payment office will pay an
interest penalty automatically, withoutrequest from the Contractor,
if payment is not made by the due date and the conditions listed in
paragraphs (a) (4) (i) through (a) (4) (iii) of this clause are met, if
applicable. However, when the due date falls on a Saturday, Sunday,
or lega! holiday, the designated payment office may make payment on
the following working day without incurring a late payment interest
penalty.
       (i) The designated billing office received a proper invoice.

       (ii) The Government processed a receiving report or other
Government documentation authorizing payment, and there was no
disagreement over quantity, quality, or Contractor compliance with
any contract term or condition.
       (iii) In the case of a final invoice for any.balance of funds
due the Contractor for supplies delivered or services performed, the
amount was not subject to further contract settlement actions
between the Government and the Contractor.
     (5) Computing penalty amount. The Government will compute the
interest penalty in accordance with the Office of Management and
Budget prompt payment regulations at 5 CFR part 1315.

       (i) For the sole purpose of computing an interest penalty that
might be due the Contractor, Government acceptance is deemed to
occur constructively on the 7th day (unless otherwise specified in
this contract) after the Contractor delivers the supplies or
performs the services in accordance with the terms and conditions of
the contract, unless there is a disagreement over quantity, quality,
or Contractor compliance with a contract provision. If actual
acceptance occurs within the constructive acceptance period, the
Government will base the determination of an interest penalty on the
actua! date of acceptance. The constructive acceptance requirement
does not, however, compe! Government officials to accept supplies or
services, perform contract administration functions, or make payment
prior to fulfilling their responsibilities.


                                                                          C-9
       Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 23 of 31
                                        FEMA10-000301



    HSFE~Q-05-C-4040                SECTION C
        (ii) The. prompt payment regulations at 5 CFR 1315.10(c) do not
require the Government to pay interest penalties if payment delays
are due to disagreement between the Government and the Contractor
over the payment amount or other issues involving contract
compliance, or on amounts temporarily withheld or retained in
accordance with the terms of the contract. The Government and the
Contractor shall resolve claims involving disputes and any interest
thatmay be payable in accordance with the clause at FAR 52.233-1,
Disputes.                                         s

     (6) Discounts for prompt payment. The designated payment office
will pay an interest penalty automatically, without request from the
Contractor, if the Government takes a discount for prompt payment
improperly. The Government will calculate the interest penalty in
accordance with the prompt payment regulations at 5 CFR part 1315.

    (7) Additional interest penalty.
       (i) The designated payment office will pay a penalty amount,
calculated in accordance with the prompt payment regulations at 5 CFR
part 1315 in addition to the interest penalty amount only if--
         (A) The Government owes an interest penalty of $! or more;

         (B) The designated payment office does not pay the interest
penalty within i0 days after the date the invoice amount is paid;
and
         (C) The Contractor makes a written demand to the designated
payment office for additional penalty payment, in accordance with
paragraph (a) (7) (ii) of this clause, postmarked not later than 40
days after the invoice amount is paid.
       (ii) (A) The Contractor shall support written demands for
additional penalty payments with the following data. The Government
will not request any additional data. The Contractor shall--

           (i) Specifically assert that late payment interest is due
under a specific invoice, and request payment of all overdue late
payment interest penalty and such additional penalty as may be
required;

           (2) Attach a copy of the invoice on which the unpaid late
payment interest is due; and

           (3) State that payment of the principal has been received,
including the date of receipt.
         (B) If there is no postmark or the postmark is illegible--

           (I) The designated payment office that receives the demand
wil! annotate it with the date of receipt, provided the demand is
received on or before the 40th day after payment was made; or


                                                                          C-10
           Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 24 of 31
                                            FEMA10~000302



   HSFEI-IQ-0~C-4040               SECTIONC
            (2) If the designated payment office fails to make the
required annotation, the Government will determine the demand’s
validity based on the date the Contractor has placed on the demand,
provided such date is no later than the 40th day after payment was
made.
       (iii) The additional penalty does not apply to payments regulated
by other Government regulations {e.g., payments under utility contracts
subject to tariffs and regulation).

   (b) Contract financing payment. If this contract provides for
contract financing, the Government will make contract financing
payments in accordance with the applicable contract financing
clause.
  (c) Fast payment procedure due dates. If this contract contains
the clause at 52.213-1, Fast Payment Procedure, payments will be
made within 15 days after the date of receipt of the invoice.

   (d) Overpayments. If the Contractor becomes aware of a duplicate contract
financing or invoice payment or that the Government has otherwise overpaid on
a contract financing or invoice payment, the Contractor shal! immediately
notify the Contractins Officer and request instructions for disposition of
the overpayment.




C.5 INVO1CES
  An invoice is a written request for payment under this contract for
supplies delivered or for services rendered. Payment of invoices
submitted under this contract shall be made in accordance with the
terms and conditions of the Prompt Payment clause and in accordance
with the provisions of other clauses in this contract. Failure or
refusa! to provide the fol!owing information on all invoices submitted
under this contract may result in the invoice being considered improper
for payment in accordance with the Prompt Payment clause. In order to
be proper, an.invoice must include, as applicable, the following:

       a. GENERAL INFORMATION

TWO     (2)   INVOICE PACKETS SHALL BE PREPA!%ED AND   SUBMITTED AS FOLLOWS:

THE FIRST INVOICE PACKET SHALL BE SENT TO:

FEMA

LOGISTICS EMERGENCY HOUSING PROGRAM

ATTN: JAMES KACZOROWSKI

500 ~ STREET S.W. ROOM 254


                                                                               C-I1
        Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 25 of 31
                                           FEMA10-000303



    FISFEI:tQ-05-C-4040               SECTION C
 WASHINGTON, D.C. 20472


 AND CONTAIN THE FOLLOWING:

 i. A cover letter stating how many Certificates of Origin are contained in the
packet.

2. O~iginal Certificates of Origin/Title made out to "FEMA".

 3. Warranty Information.

4. An invoice containing the following information:

        a. Name of Contractor
        b. Invoice date
       co Contract number (including order number, if any), contract line
 item number, contract description of supplies or services, quantity,
 contract unit of measure and unit price,.and extended total.

      d. Shipment number and date of shipment (bill-of-lading n~mber and
weight of shipment will be shown for shipments on Government bills of
lading).

      e0 Name, title, phone number and complete mailing address of
responsible Official who can be contacted in the event of an improper
ihvoice, if there ~re questions, or additional information is. neede~
by this agency to process payment.
       f. The invoice should be itemized and numbered f~r each unit containing
the following information on each unit (no more than 20 units per page of the
invoice) : Unit Manufacturer, Make and Model, VIN#, and price for each unit.

      g. Any other information or documentation required by other
provisions of the Contract .(such as evidence Of shipment).


THE SECOND INVOICE PACKET SHALL BE SENT TO:

 FEMA

 DISASTER FINA!~CE CENTER, BLDG 708

ATTN: VENDOR PAYMENTS

 P.O. BOX 800

 BERRYVILLE, VA 22611

AND CONTAIN THE FOLLOWING:

An invoice containing the following information:

                                                                            C-12
       Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 26 of 31
                                             FEMA10-000304



   HSFEE[Q-05-C-4040                 SECTION C

           Name of Contractor

           Invoice date

       C. Contract number (including order number, if any), contract line
 item number, contract description of supplies or services, quantity,
 contract unit of measure and unit price, and extended tohal.

      d. Shipment number and date of shipment (bil!-of-lading number and
weight of shipment will be shown for shipments on Government bills of
lading).

      e. Name, title, phone number and complete mailing address of
responsible Official who can be contacted in the event of an improper
invoice, if there are questions, or additional information is needed
by this agency to process payment.
       f. The invoice should be itemized and numbered for each unit containing
the following information on each unit (no more than 20 units per page of the
invoice) : Unit Manufacturer, Make and Model, VIN#, and price for each unit.
      g. Any other information or documentation required by other
provisions Of the Contract (such as evidence of shipment).




     b. ELECTRONIC FUNI]S TRANSFER   (EFT)       INFORMATION


      I. The contractor should include the EFT information set forth
below on all invoices submitted for payment under this contract.
Failure to provide the information or failure to notify this agency of
changes to this information may result in delays in payments and/or
rejection of the invoice in accordance with the Prompt Payment clause
of this contract.   The following EFT information should be submitted
on each invoice:
         (a) Routing Transit Number (RTN) &6< The contractor shall
provide the current 9-digit RTN of the payee’s bank

          (b) Payee’s account number
          (c) Contractor’s Tax Identification Number (TIN)

       (The EFT information submitted must be that of the contractor
unless there is an officia! Assignment of Claims on file with the
payment office.)

      If at any time during the term of this contract, the contractor
changes any EFT information, (i.e. financial agent, RTN, account number,
etc.) the new EFT information must replace the old EFT information on
subsequent invoices submitted under this contract.

                                                                            C-13
       Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 27 of 31
                                       FEMA10-000305



   FISI?EHQ-05-C-4040             SECTION C

      To avoid delays in processing invoices, the contractor must also
submit written notification of EFT information changes to the office
designated in this award document as soon as the new information is
known to the contractor. This notification must be in writing and
signed by the individual authorized by the contractor to make such
changes.



C.6 52.249-8 DEFAULT ~IXED-PRICE SUPPLY AND SERVICE)
     (APR 1984)
  (a) (I) The Government may, subject to paragraphs (c) and (d)
below, by written notice of default to the Contractor, terminate
this contract in whole or in part if the Contractor fails to--
       (i) Deliver the supplies or to perform the services within the
time specified in this contract or any extension;
       (ii) Make progress, so as to endanger performance ofthis
contract (but see subparagraph (a) (2) below); or

       (iii) Perform any of the other provisions of this contract
(but see subparagraph (a) (2) below).

     (2) The Government’s right to terminate this cont[act under
subdivisions (I) (ii) and (I) (iii) above, may be exercised if the
~ontractot does no[ cure such failure within I0 days (or more if
authorized in writing by the Contracting Officer) after receipt of
the notice from the Contracting Officer specifying the failure.

  (b) If the Government terminates this contract in whole or in
part, it may acquire, under the terms and in the manner the
Contracting Officer considers appropriate, supplies or services
similar to those terminated, and the Contractor wil! be liable to
the Government for any excess costs for those supplies or Services.
However, the Contractor shall continue the work not terminated.
   (c) Except for defaults of subcontractors at any tier, the
Contractor shal! not be liable for any excess costs if the failure
to perform the contract arises from causes beyond the control and
without the fault or negligence of the Contractor. Examples of such
causes include (i) acts of God or Of the public enemy, (2) acts of
the Government in either its sovereign or contractual capacity, (3)
fires, (4) floods, (5) epidemics, (6) quarantine restrictions, (7)
strikes,~ (8) freight embargoes, and (9) unusually severe weather.
In each instance the failure to perform must be beyond the control
and without the fault or negligence of the Contractor.
  (d) If the failure to perform is caused by the default of a
subcontractor at any tier, and if the cause of the default is beyond
the control of both the Contractor and subcontractor, and without
the fault or negligence of either, the Contractor shall not be

                                                                         C-14
      Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 28 of 31
                                      FEMA10-000306



   HSF~IiQ-05-C-4040              SECTION C
liable for any excess costs for failure to perform, unless the
subcont ratted supplies or services were obtainable from other
sources in sufficient time for the Contractor to meet the required
delivery schedule.

   (e) If this contract is terminated for default, the Governmentmay
require the Contractor to transfer title and deliver to the
Government, as directed by the Contracting Officer, any (I)
completed supplies, and (2) partially completed supplies and
materials, parts, tools, dies, jigs, fixtures, plans, drawings,
information, and contract rights (collectively referred to as
"~anufacturing materials" in this clause) that the Contractor has
specifically produced or acquired for the terminated portion of this
contract. Upon direction of the Contracting Officer, the Contractor
shall also protect and preserve property in its possession in which
the Government has an interest.
  (f) The Government shall pay contract price for completed supplies
delivered and accepted. The Contractor and Contracting Officer
shall agree on the amount of payment for manufacturing materials
delivered and accepted and for the protection and preservation of
the property. Failure to agree will be a dispute under the Disputes
clause. The Government may withhold from these amounts any sum the
Contracting Officer determines to be necessary to protect the
Government asainst loss because of outstanding liens or claims of
former lien holders.

  (g) If, after termination, it is determined that the Contractor
was not in default, or that.the default was excusable, the rights
and obligations of the parties shall be the same as if the
termination had been issued for the convenience of the Government.
   (h) The rights and remedies of the Government in this clause are
 in addition to any other rights and remedies provided by law or
under this contract.
C.7 HSAR 3052.209-70 PROHIBITION ON CONTRACTS WITH CORPORATE EXPATRIATES
     (DEC2003)

  (a) Prohibitions.

    Section 835 of Public Law 107-296, prohibits the Department of
Homeland Security from entering into any contract with a foreign
incorporated entity after November 25, 2002, which is treated as an
inverted domestic corporation as defined in this clause.
    The Secretary shall waive the prohibition with respect to any
specific contract if the Secretary determines that the waiver is
required in the interest of homeland security, or to prevent the
loss of any jobs in the United States or prevent the Government from
incurring any additional costs that otherwise would not occur.

  (b) Definitions. As used in this clause:

    Expanded Affiliated Group means an affiliated group as defined

                                                                       C-15
       Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 29 of 31
                                        FEMA10-000307



    HSFEHQ-05-C-4040               SECTION C
 in section 1504(a) of the Internal Revenue Code of 1986 (without
 regard to section 1504{b) of such Code), except that section 1504 of
 such Code shall be applied by substituting "more than 50 percent’
 for "at least 80 percent’ each place it appears.
    Foreign Incorporated Entity means any entity which is, or but
for subsection (b) of section 835 of the Homeland Security Act,
Public Law 107-296, would be, treated as a foreign, corporation for
purposes of the Internal Revenue Code of 1986.

     Inverted Domestic Corporation. A foreign incorporated entity
 shall be treated as an inverted domestic corporation if, pursuant to
 a plan (or a series of related transactions)--
        (I) The entity completes after November 25, 2002, the direct or
indirect acquisition of substantially all of the properties held
directly or indirectly by a domestic corporation or substantially
all of the properties constituting a trade or business of a domestic
partnership;                    ~

       (2) After the acquisition at least 80 percent of the stock (by
vote or value) of the entity is held--

          (i) In the case of an acquisition with respect to a domestic
 corporation, by former shareholders of the domestic corporation by
 reason of holding stock in the domestic corporation; or

         (ii) In the case of an acquisition with respect to a domestic
partnership, by former partners of the domestic partnership by
reason of holding a capital or profits interest in the domestic
partnership; and

        (3) The expanded affiliated group which after the acquisition
 includes the entity does not have substantial business activities in
 the foreign country in which or under the law of which the entity is
.created.or organized when compared to the total business activities
 of such expanded affiliated group.
       Person, domestic, and foreign have the meanings given such terms
 by paragraphs (i), (4), and (5) of section 7701(a) of the Internal
 Revenue Code of 1986, respectively.

   (c) Specia! rules. The following definitions and special rules
 shall apply when determining whether a foreign incorporated eqtity
 should be treated as an inverted domestic corporation.

      (I) Certain stock disregarded. For the purpose of treating a
 foreign incorporated entity as an inverted domestic corporation
 these shall not be taken into account in determining ownership:

        (i) stock held by members of the expanded affiliated group which
 includes the foreign incorporated entity; or
       (ii) stock of such entity which is sold in a public offering

                                                                           C-16
       Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 30 of 31
                                        FEMA10-000308



    HSFEHQ-05-C-4040               SECTION C
 related to the acquisition described in subsection (b) (i) of Section
 835 of the Homeland Security Act, Public Law 107-296.

     (2) Plan deemed in certain cases. If a foreign incorporated
entity acquires directly or indirectly substantially all of the
properties.of a domestic corporation or partnership during the 4-
year period beginning on the date which is after the date of
enactment of this Act and which is 2 years before the ownership
requirements of subsection (b) (2) are met, such actions shall be
treated as pursuant to a plan.

      (3) Certain transfers disregarded. The transfer of properties or
 liabilities (including by contributionor distribution) shall be
 disregarded if such transfers are part of a p~an a principa! purpose
 of which is to avoid the purposes of this section.

  (d) Special rule for related partnerships. For purposes of
applying section 835(b) of Public Law 107-296 to the acquisition of
a domestic partnership, except as provided in regulations, all
domestic partnerships which are under common contro! (within the
meaning of section 482 of the Internal Revenue Code of 1986) shall
be treated as a partnership.

   (e) Treatment of Certain Rights.
     (I) Certain rights shall be treated as stocks to the extent
necessary to reflect the present value of all equitable interests
incident to the transaction, as follows:
       (i) Warrants;
       (ii) Options;
       (iii) Contracts to acquire stook;
       (iv) Convertible debt instruments;
       (v) Others similar interests.

     (2) Rights labeled as stocks shall not be treated as stocks
whenever it is deemed appropriate to do so to reflect the present
value of the transaction or to disregard transactions whose
recognition would defeat the purpose of section 835.
  (f) Disclosure. By signing and submitting its offer, an offeror
under this solicitation represents that it not a foreign
incorporated entity that should be treated as an inverted domestic
corporation pursuant to the criteria of Section 835 of the Homeland
Security Act, Public Law 107-296 of November 25, 2002.

   (g) If a waiver has been granted, a copy of the approved waiver
 shall be attached to the bid or proposal.



C.8 COMMERCIAL WARRANTY

 Notwithstanding the provisions of the "Inspection’~ clause of this contract, the
Contractor agrees that the items delivered under this contract shall be covered

                                                                           C-17
         Case 2:07-md-01873-KDE-MBN Document 196-17 Filed 05/18/08 Page 31 of 31
                                        FEMA10-000309




    HSFEHQ-05-C-4040             SECTION C
by the same warranties as the’Contractor customarily offers in connection with
the sale of these items on the commercial market. In the event that differing
warranties coverin9 these items are customarily offered to other purchasers by
the Contractor, it is agreed that such warranties shall apply to this contract as
are available to theContractor’s most favored purchaser. In addition to any
other obligations imposed upon the Contractor under any warranties, and
regardless of whether a similar right is customarily offered to other purchasers,
the Contractor shall, if so required by the Government within a reasonable time
after the giving of notice of defect in accordance with such warranties, correct
or replace the defective or nonconforming item with all possible speed at the
Contractor’s cost, including shipping costs, not exceeding usua! charges, ~rom
the delivery point to the Contractor’s plant and return.

 The Contractor shall affix a prominent notice on the equipment stating that the
unit i% covered by a warranty by the Contractor. Complete details of the terms of
the warranty shal! be documented and provided at the time of acceptance by the
Government.




                                                                            C-18
